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                           BEFORE THE UNITED STATES JUDICIAL
                           PANEL ON MULTIDISTRICT LITIGATION



    In re Entresto (Sacubitril/Valsartan) Patent           MDL No. ____________________
    Litigation



                          MEMORANDUM IN SUPPORT OF MOTION
                         TO TRANSFER TO DISTRICT OF DELAWARE

          Pursuant to 28 U.S.C. § 1407 and Rule 6.2 of the Rules of Procedure of the Judicial Panel

on Multidistrict Litigation, Plaintiff Novartis Pharmaceuticals Corporation (“Plaintiff”) hereby

moves to transfer Novartis Pharmaceuticals Corporation v. Mylan Pharmaceuticals Inc., Mylan

Inc., Mylan Laboratories Limited, Case No. 1:19-cv-00201-IMK (N.D. W. Va.), pending before

Judge Irene M. Keeley in the United States District Court for the Northern District of West

Virginia, to Chief Judge Leonard P. Stark in the United States District Court for the District of

Delaware for coordinated and consolidated pretrial proceedings with three other actions already

pending in that district against 38 defendants.

                                           BACKGROUND

          In October 2019, Plaintiff filed three complaints in the United States District Court for

the District of Delaware alleging patent infringement against a total of 38 defendants

representing 18 different groups of generic drug makers, 1 including Mylan Pharmaceuticals Inc.,



1
  The defendants are (1)(a) Alembic Pharmaceuticals Limited, (b) Alembic Global Holding SA,
and (c) Alembic Pharmaceuticals, Inc. (collectively “Alembic”); (2) Alkem Laboratories Ltd.
(“Alkem”); (3)(a) Aurobindo Pharma USA Inc. and (b) Aurobindo Pharma Ltd. (collectively
“Aurobindo”); (4)(a) Biocon Pharma Limited, (b) Biocon Limited, and (c) Biocon Pharma, Inc.
(collectively “Biocon”); (5) Crystal Pharmaceutical (Suzhou) Co., Ltd. (“Crystal Pharma”);
(6)(a) Dr. Reddy’s Laboratories, Inc. and (b) Dr. Reddy’s Laboratories, Ltd. (collectively “Dr.
Reddy’s”); (7)(a) Hetero USA Inc., (b) Hetero Labs Limited, and (c) Hetero Labs Limited Unit
III (collectively “Hetero”); (8)(a) Laurus Labs Limited and (b) Laurus Generics Inc. (collectively
                                                   1
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Mylan Inc. and Mylan Laboratories Limited (collectively “Mylan”): Case No. 1:19-cv-01979-

LPS (D. Del.), filed on October 17, 2019; Case No. 1:19-cv-02021-LPS (D. Del.), filed on

October 24, 2019 and Case No. 1:19-cv-02053-LPS (D. Del.), filed on October 29, 2019.

Plaintiff filed those three complaints in response to 19 notice letters 2 indicating that those drug

makers had submitted Abbreviated New Drug Applications (“ANDAs”) seeking FDA approval

to market generic versions of Plaintiff’s Entresto® drug product, prior to the expiration of

Plaintiff’s Orange Book-listed patents. All three Delaware actions are assigned to Judge Stark.

       Twelve defendants are incorporated in Delaware. 3 Counsel for the other ANDA-filer

defendants—except Mylan—have agreed in correspondence with Plaintiff’s counsel that they

would not contest personal jurisdiction and venue in the District of Delaware for purposes of

litigation concerning their respective Entresto® ANDAs. See Declaration Of Christopher E. Loh

(“Loh Declaration”), filed concurrently herewith. Because Mylan did not so agree, Plaintiff on




“Laurus”); (9)(a) Lupin Atlantis Holdings, S.A., (b) Lupin Limited, (c) Lupin Inc., and (d) Lupin
Pharmaceuticals, Inc. (collectively “Lupin”); (10)(a) Macleods Pharmaceuticals Ltd. and (b)
Macleods Pharma USA, Inc. (collectively “Macleods”); (11)(a) MSN Pharmaceuticals Inc., (b)
MSN Laboratories Private Limited, and (c) MSN Life Sciences Private Limited (collectively
“MSN”); (12)(a) Mylan Pharmaceuticals Inc., (b) Mylan Inc., and (c) Mylan Laboratories
Limited (collectively “Mylan”); (13) Nanjing Noratech Pharmaceutical Co., Limited
(“Noratech”); (14)(a) Natco Pharma Limited and (b) Natco Pharma, Inc. (collectively “Natco”);
(15) Novugen Pharma (Malaysia) Sdn. Bhd. (“Novugen”); (16) Teva Pharmaceuticals USA, Inc.
(“Teva”); (17)(a) Torrent Pharma Inc. and (b) Torrent Pharmaceuticals Ltd. (collectively
“Torrent”); and (18)(a) Zydus Pharmaceuticals (USA) Inc. and (b) Cadila Healthcare Ltd.
(collectively “Zydus”).
2
 Two of the Lupin entities, Lupin Atlantis Holdings, S.A. and Lupin Limited, filed separate
ANDAs. Thus, while there are 18 different groups of generic drug makers in these actions, there
are 19 different ANDAs.
3
  Alembic Pharmaceuticals Inc., Aurobindo Pharma USA Inc., Biocon Pharma, Inc., Hetero USA
Inc., Laurus Generics Inc., Lupin Inc., Lupin Pharmaceuticals, Inc., Macleods Pharma USA Inc.,
MSN Pharmaceuticals Inc., Natco Pharma, Inc., Teva Pharmaceuticals USA, Inc., Torrent
Pharma Inc.
                                                  2
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October 30, 2019 filed a complaint against Mylan in the Northern District of West Virginia.,

1:19-cv-00201-IMK (N.D. W. Va.), (“Mylan West Virginia Action”), where Mylan

Pharmaceuticals Inc. is incorporated. The claims made by Plaintiff in the complaint in the

Mylan West Virginia Action are substantively identical to the claims made by Plaintiff against

Mylan in Delaware Case No. 1:19-cv-02053-LPS (D. Del.).

       On December 16, 2019, Plaintiff’s counsel proposed to Mylan’s counsel an informal

alternative to transfer and consolidation under 28 U.S.C. § 1407, i.e., that Mylan agree to stay the

Mylan West Virginia Action and to proceed in Delaware for pretrial purposes as if an MDL

order under 28 U.S.C. § 1407 were in place. Plaintiff’s counsel followed up with Mylan’s

counsel by voicemail on December 18, 2019 and by email December 19, 2019. As of the time of

this filing, Mylan’s counsel has not responded to Plaintiff’s proposal.

       In all four actions, Plaintiff has asserted the same four patents, alleged the same

substantive claims, and is seeking the same relief. 4 All four actions remain in their earliest

stages: no answers have been filed, no conferences have been held, no discovery has taken place,

and no substantive orders have been issued. No date for an initial scheduling conference has

been set in the District of Delaware, and the initial scheduling conference in the Northern District

of West Virginia will not occur until March 3, 2020. Case No. 1:19-cv-00201-IMK, D.I. 28

(N.D. W. Va.).

       There is ample time for Judge Stark to conduct pretrial proceedings in all four actions if

the Panel orders the transfer of the Mylan West Virginia Action. Ordinarily, where a patent



4
 Plaintiff has asserted U.S. Patent Nos. 8,877,938 and 9,388,134 (“’938 patent” and “’134
patent,” respectively) against all defendants. Plaintiff also has asserted U.S. Patent No.
8,101,659 (“’659 patent”) against all defendants except Alembic, Lupin, and Noratech and U.S.
Patent No. 8,796,331 (“’331 patent”) against all Defendants except Alembic, Lupin, Macleods,
and Noratech. These patents are collectively referred to as the “patents-in-suit.”
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owner sues an ANDA filer within 45 days of receiving notice of the ANDA filing, FDA approval

of the ANDA is stayed for 30 months from the date notice was received. 21 U.S.C. §

355(j)(5)(B)(iii). Because Plaintiff received defendants’ notice letters in September 2019, a 30-

month statutory stay would have expired in March 2022. Here, however, the relevant statutory

stay expires more than a year later, on July 7, 2023, because the instant actions were brought

within five years of the July 7, 2015 FDA approval date for Entresto®, and because the FDA has

granted Entresto® pediatric exclusivity. See 21 U.S.C. § 355(j)(5)(F)(ii) (extending 30-month

statutory stay to 7.5 years from branded approval date for suits brought between four and five

years after branded approval date); 21 U.S.C. § 355a(b)(1)(A)(i)(I) (further extending stay under

(j)(5)(F)(ii) to 8 years for pediatric exclusivity).

                                             ARGUMENT

        The Panel may centralize actions pursuant to 28 U.S.C. § 1407 if the movant establishes

three elements: (1) that “common questions of fact” exist; (2) that centralization will “be for the

convenience of [the] parties and witnesses”; and (3) that centralization “will promote the just and

efficient conduct of [the] actions.” Each of these three criteria is easily satisfied here. Indeed, in

2019 alone, the Panel three times has transferred Hatch-Waxman actions against Mylan from the

Northern District of West Virginia to the District of Delaware under circumstances like these. In

re Kerydin (Tavaborole) Topical Sol. 5% Patent Litig., 366 F. Supp. 3d 1370, 1371–72 (J.P.M.L.

2019); In re Auryxia (Ferric Citrate) Patent Litig., MDL No. 2896, 2019 U.S. Dist. LEXIS

133975, at *2–3 (J.P.M.L. July 31, 2019); In re Palbociclib Patent Litig., 396 F. Supp. 3d 1360,

1362 (J.P.M.L. 2019). As in those three cases, transferring the Mylan West Virginia Action to

the District of Delaware and consolidating that Action with the three pending Delaware actions

for pretrial proceedings is both appropriate and warranted.


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1.     The Presence Of Many Common Questions Of
       Fact Across The Actions Warrants Centralization

       The existence of a substantial number of common questions of fact across the four

actions—which bear squarely on core aspects of the parties’ claims and defenses—merits

consolidation of the Mylan West Virginia Action with the three actions pending in Delaware.

Where, as here, the same patents are asserted in separate, parallel actions, “[a]ll actions can . . .

be expected to share factual and legal questions concerning such matters as the technology

underlying the patents, prior art, claim construction and issues of infringement involving the

patents.” In re Pharmastem Therapeutics, Inc. Patent Litig., 360 F. Supp. 2d 1362, 1364

(J.P.M.L. 2005). Common questions of fact that likely will arise in each of the four actions fall

into four categories.

       First, each ANDA filer purports to have submitted an ANDA to the FDA requesting

approval to manufacture and market a generic version of Entresto®. Accordingly, common

questions will be presented as to whether these regulatory submissions constitute infringement of

the patents-in-suit under 35 U.S.C. § 271(e)(2), and whether the proposed ANDA products will

directly or indirectly infringe Plaintiff’s patents under other provisions of 35 U.S.C. § 271. See

Ferring B.V. v. Watson Labs., Inc.-Fla., 764 F.3d 1382, 1387–88 (Fed. Cir. 2014); Glaxo, Inc. v.

Novopharm, Ltd., 110 F.3d 1562, 1570 (Fed. Cir. 1997).

       Second, each of the four actions involves common fact issues related to the validity of the

patents-in-suit. For example, ANDA filers named as defendants across all four actions—

including Mylan—have alleged in their notice letters to Plaintiff that the ’659 and ’331 patents-

in-suit are invalid as obvious under 35 U.S.C. § 103. Determining whether the claimed

inventions are obvious is a legal issue common to all four actions which requires underlying

factual inquiries that are common to all four actions, including, among other things, the level of

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ordinary skill in the art, the scope and content of the prior art, whether the person of ordinary

skill (“POSA”) would have been motivated to combine the prior art references, and whether the

POSA would have had a reasonable expectation of success in achieving the claimed invention.

See, e.g., Intercontinental Great Brands LLC v. Kellogg N. Am. Co., 869 F.3d 1336, 1343 (Fed.

Cir. 2017) (setting forth the factual determinations underlying the obviousness inquiry).

       Third, both validity and infringement may require the predicate, pretrial resolution of

claim construction disputes. Claim construction is a question of law that often requires the

district court to resolve subsidiary factual questions. See Teva Pharm. USA, Inc. v. Sandoz, Inc.,

574 U.S. 318, 331 (2015). Moreover, the Panel has repeatedly observed that centralization is

necessary to prevent inconsistent pretrial rulings “particularly on claim construction issues.”

See, e.g., In re RAH Color Techs. LLC Patent Litig., 347 F. Supp. 3d 1359, 1360 (J.P.M.L.

2018); In re Nebivolol (’040) Patent Litig., 867 F. Supp. 2d 1354, 1355 (J.P.M.L. 2012).

       Fourth, Plaintiff is seeking a permanent injunction against all 38 defendants to preclude

the commercial manufacture, use, sale, offer for sale, or importation into the United States of

defendants’ ANDA products, or any other drug product covered by or whose use is covered by

one or more of the patents-in-suit, prior to the expiration of those patents, inclusive of any

extension(s) and additional period(s) of exclusivity. The availability of permanent injunctive

relief will turn on common questions of fact. See eBay v. MercExchange, L.L.C., 547 U.S. 388,

391–92 (2006) (observing that to obtain a permanent injunction, “[a] plaintiff must demonstrate:

(1) that it has suffered an irreparable injury; (2) that remedies available at law, such as monetary

damages, are inadequate to compensate for that injury; (3) that, considering the balance of

hardships between the plaintiff and defendant, a remedy in equity is warranted; and (4) that the

public interest would not be disserved by a permanent injunction.”). Additionally, in the event


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that any defendants attempt to market their ANDA products before these actions are decided,

Plaintiff may seek preliminary injunctive relief, the availability of which will also turn on

common questions of fact. See, e.g., Metalcraft of Mayville, Inc. v. Toro Co., 848 F.3d 1358,

1363–64 (Fed. Cir. 2017).

2.     Centralization In The District Of Delaware
       Will Minimize The Burdens On The Parties And Witnesses

       Centralization of these actions before Judge Stark will best serve the convenience of the

parties and witnesses. Placing all of these actions before a single Court will ensure a common

pretrial schedule, common fact and expert discovery, and a streamlined and consistent approach

to motions practice and claim construction. It will also obviate the need for witnesses to appear

and to participate in more than one proceeding.

       Centralization in the District of Delaware before Judge Stark will maximize these

benefits. Currently, 35 of 38 defendants (comprising 17 different groups of generic drug makers)

are defendants exclusively in Delaware. Consolidating the Mylan West Virginia Action in

Delaware thus would cause no disruption for all other defendants or for the Plaintiff. Twelve

defendants are incorporated in Delaware, and counsel for the remaining ANDA-filer defendants

other than Mylan have represented that they will not contest personal jurisdiction or venue in

Delaware for purposes of this litigation. See Loh Declaration. Put simply, every other litigant in

these actions except Mylan has signaled a willingness to litigate these matters in Delaware. This

Panel repeatedly has consolidated actions in Delaware under similar circumstances. See, e.g., In

re Palbocyclib, 396 F. Supp. 3d at 1362; In re Kerydin, 366 F. Supp. 3d at 1370; In re Alfuzosin

Hydrochloride Patent Litig., 560 F. Supp. 2d 1372, 1374 (J.P.M.L. 2008) (centralizing four

Hatch- Waxman actions in the District of Delaware by transferring to Delaware one action

pending in the Southern District of Florida).

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       Judge Stark previously has presided over complex patent actions, including a multidistrict

patent case. See, e.g., In re Auryxia, 2019 U.S. Dist. LEXIS 133975, at *3. Judge Stark also has

substantial experience with Hatch-Waxman litigation, having presided over more than 400

Hatch-Waxman cases. See Lex Machina Search: District Judge Leonard Philip Stark with case

tag Patent:ANDA (performed December 19, 2019), filed concurrently herewith as Exhibit A.

       Delaware also is the more convenient location for many parties and witnesses, as the

District of Delaware courthouse is just 21 miles from a major international airport (Philadelphia).

By contrast, the Northern District of West Virginia courthouse is nearly 120 miles from the

nearest airport with international routes (Pittsburgh).

3.     Centralization In The District Of Delaware
       Will Promote Just And Efficient Conduct Of The Actions

       Centralization of Hatch-Waxman actions pending in multiple districts was expressly

contemplated by the drafters of the Hatch-Waxman Act:

               In the event of multiple ANDA’s certifying patent invalidity or
               noninfringement, the courts should employ the existing rules for
               multidistrict litigation, when appropriate, to avoid hardship on the
               parties and witnesses and to promote the just and efficient conduct
               of the patent infringement actions.

See H.R. Rep. No. 98-857, pt. 1, at 28 & n.14 (1984). The Panel has repeatedly observed that

Hatch-Waxman actions “are particularly well-suited for transfer under Section 1407,” In re

Rosuvastatin Calcium Patent Litig., 560 F. Supp. 2d 1381, 1383 (J.P.M.L. 2008); In re

Desloratadine Patent Litig., 502 F. Supp. 2d 1354, 1355 (J.P.M.L. 2007) (citing In re Metoprolol

Succinate Patent Litig., 329 F. Supp. 2d 1368 (J.P.M.L. 2004)), and “has frequently centralized

litigation comprised of only two Hatch-Waxman Act cases,” In re Nebivolol, 867 F. Supp. 2d at

1355 & n.4.



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        In keeping with these legislative and judicial pronouncements, the Panel has centralized

more than a dozen Hatch-Waxman actions, while denying centralization only once where the

actions at issue were filed two years apart and in very different procedural postures. That is not

the case here. 5

        Plaintiff’s four Hatch-Waxman actions asserting the patents-in-suit present the same

canonical scenario and should be centralized in keeping with the Panel’s decisions in prior

actions. The alternative—parallel litigation in the District of Delaware and Northern District of

West Virginia—would lead to unnecessary duplication of effort by the two courts. With

duplication comes the risk of inconsistent rulings on discovery disputes and claim construction.




5
  The undersigned counsel is aware of eighteen motions for centralization in Hatch-Waxman
actions that have been granted by the MDL Panel. See In re Palbociclib Patent Litig., 396 F.
Supp. 3d 1360 (J.P.M.L. 2019) (MDL No. 2912); In re Auryxia (Ferric Citrate) Patent Litig.,
MDL No. 2896, 2019 U.S. Dist. LEXIS 133975 (J.P.M.L. July 31, 2019); In re Kerydin
(Tavaborole) Topical Sol. 5% Patent Litig., 366 F. Supp. 3d 1370 (J.P.M.L. 2019) (MDL No.
2884); In re Nebivolol (’040) Patent Litig., 867 F. Supp. 2d 1354 (J.P.M.L. 2012) (MDL No.
2364); In re Fenofibrate Patent Litig., 787 F. Supp. 2d 1352 (J.P.M.L. 2011) (MDL No. 2241);
In re Armodafinil Patent Litig., 755 F. Supp. 2d 1359 (J.P.M.L. 2010) (MDL No. 2200); In re
Tramadol Hydrochloride Extended-Release Capsule Patent Litig., 672 F. Supp. 2d 1377
(J.P.M.L. 2010) (MDL No. 2126); In re Cyclobenzaprine Hydrochloride Extended-Release
Capsule Patent Litig., 657 F. Supp. 2d 1375 (J.P.M.L. 2009) (MDL No. 2118); In re
Rosuvastatin Calcium Patent Litig., 560 F. Supp. 2d 1381 (J.P.M.L. 2008) (MDL No. 1949); In
re Alfuzosin Hydrochloride Patent Litig., 560 F. Supp. 2d 1372 (J.P.M.L. 2008) (MDL No.
1941); In re Brimonidine Patent Litig., 507 F. Supp. 2d 1381 (J.P.M.L. 2007) (MDL No. 1866);
In re Desloratadine Patent Litig., 502 F. Supp. 2d 1354 (J.P.M.L. 2007) (MDL No. 1851); In re
Rivastigmine Patent Litig., 360 F. Supp. 2d 1361 (J.P.M.L. 2005) (MDL No. 1661); In re
Metoprolol Succinate Patent Litig., 329 F. Supp. 2d 1368 (J.P.M.L. 2004) (MDL No. 1620); In
re Mirtazapine Patent Litig., 199 F. Supp. 2d 1380 (J.P.M.L. 2002) (MDL No. 1445); In re
Gabapentin Patent Litig., MDL No. 1384, 2001 WL 34834423 (J.P.M.L. Feb. 5, 2001); In re
Omeprazole Patent Litig., MDL No. 1291, 1999 U.S. Dist. LEXIS 12589 (J.P.M.L. Aug. 12,
1999); In re Nabumetone Patent Litig., MDL No. 1238, 1998 U.S. Dist LEXIS 13735 (J.P.M.L.
Sept. 2, 1998).
  The sole Hatch-Waxman action in which the Panel denied centralization, In re Sumatriptan
Succinate Patent Litig., 381 F. Supp. 2d 1378, 1379 (J.P.M.L. 2005) (MDL No. 1701), involved
actions that, unlike here, were filed two years apart and on “opposite ends of the discovery
process.” MDL No. 1701, ECF No. 8 at 1 (J.P.M.L. June 8, 2005).
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Parallel litigation also would burden the parties and their witnesses with competing case

schedules, multiplication of depositions and hearings, and the added expense and inconvenience

that would accompany this redundancy. By contrast, centralization in Delaware will promote the

fair and efficient resolution of the disputes by minimizing these burdens.

                                         CONCLUSION

       For the foregoing reasons, Plaintiff respectfully requests that the Panel transfer Novartis

Pharmaceuticals Corporation v. Mylan Pharmaceuticals Inc., Mylan Inc., Mylan Laboratories

Limited, Case No. 1:19-cv-00201-IMK, pending in the Northern District of West Virginia, to

Chief Judge Leonard P. Stark in the District of Delaware for coordinated and consolidated

pretrial proceedings.




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Dated: December 20, 2019                  Respectfully submitted,

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